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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                        UNITED STATES DISTRICT COURT
                                                                                  August 13, 2020

                         SOUTHERN DISTRICT OF TEXAS
                                                                                 David J. Bradley, Clerk

                              LAREDO DIVISION

TEXAS ALLIANCE FOR RETIRED                   §
AMERICANS, et al,                            §
                                             §
          Plaintiffs,                        §
VS.                                          §   CIVIL ACTION NO. 5:20-CV-128
                                             §
RUTH HUGHS,                                  §
                                             §
          Defendant.                         §

                                        ORDER

       Given that Plaintiffs’ Motion for Preliminary Injunction is time-sensitive—they ask

the Court for an injunction to occur before the November 2020 election—the Court hereby

ORDERS Plaintiffs to file an Advisory as soon as possible to apprise the Court of the status

of service of process on Defendant.

       It is so ORDERED.

       SIGNED August 13, 2020.
                                             ___________________________________
                                             Marina Garcia Marmolejo
                                             United States District Judge
